Case 2:24-cv-02886-WLH-SK        Document 1      Filed 04/09/24   Page 1 of 30 Page ID #:1




 1
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 7

 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA

10 DAVID HOUGH;                                    ) Case No.: 2:24-cv-02886
   MOULOUD HOCINE;                                 )
11
   JENNIFER LEHMKUHL HILL;                         ) COMPLAINT FOR:
12 AMUND THOMPSON;
                                                   )   1. FRAUD CONSPIRACY
   PAUL PANICO
13                                                 )   2. FRAUDULENT TRANSFERS
14                               Plaintiffs,       )       IN FURTHERANCE OF
           vs.                                     )       CONSPIRACY
15
                                                   )   3. CONSPIRACY TO VIOLATE
16                                                 )       BUSINESS AND
     RYAN CARROLL;
17 MAX K. DAY;                                     )       PROFESSIONS CODE § 17200
                                                   )   4. VIOLATIONS OF
18 MAX O. DAY;
     MICHAEL DAY;                                  )       SECURITIES LAWS
19 YAX ECOMMERCE LLC;                              )
20 PRECISION TRADING GROUP, LLC;                   ) DEMAND FOR JURY TRIAL
     WA DISTRIBUTION LLC;                          )
21 PROVIDENCE OAK PROPERTIES,
                                                   )
22 LLC;
     WA AMAZON SELLER LLC;
23 MKD INVESTMENT ADVISOR, LLC;

24 MKD FAMILY BENEFICIARY, LLC;
     MKD FAMILY PRIVATE
25 MANAGEMENT COMPANY, LLC;

26 MAX DAY CONSULTING, LLC;
     HOUTEX FARM EQUITY PARTNERS
27 LLC;

28
                                                  -1-
                                               COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1     Filed 04/09/24   Page 2 of 30 Page ID #:2




 1
     BUSINESS FINANCIAL SOLUTIONS
     ADVISORY LLC;
 2   EVO MAXX LLC;
 3   YAX IP AND MANAGEMENT INC.
     (D.B.A. “FULFILLABLE”);
 4   WWKB LLC;
 5   DREAMS TO REALITY LLC;
                            Defendants.
 6

 7

 8
 9
           Plaintiffs—Molund Hocine; Jennifer Lehmkuhl Hill; Amund Thompson;
10
     David Hough; and Paul Panico—by and through their undersigned attorney, hereby
11

12 bring this action against Defendants—Ryan Carroll; Max K. Day; Max O. Day;

13
     Michael Day; Yax Ecommerce LLC; Precision Trading Group, LLC; WA
14

15
     Distribution LLC; Providence Oak Properties, LLC; WA Amazon Seller LLC; MKD

16 Investment Advisor, LLC; MKD Family Beneficiary, LLC; MKD Family Private

17
     Management Company, LLC; Max Day Consulting, LLC; HouTex Farm Equity
18

19 Partners LLC; Business Financial Solutions Advisory LLC; Evo Maxx LLC; Yax IP

20 and Management Inc; Dreams To Reality LLC; and WWKB LLC—and allege as

21
     follows:
22

23                             JURISDICTION AND VENUE

24      1. Plaintiffs invoke the diversity jurisdiction of the Court pursuant to 28 U.S.C. §
25
           1332 because no Plaintiffs in this action reside in the same state as any
26

27         Defendants, and the amount in controversy in each Plaintiff’s claim exceeds

28         $75,000.
                                               -2-
                                            COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1     Filed 04/09/24    Page 3 of 30 Page ID #:3




 1
       2. Furthermore, Plaintiffs invoke the federal-question jurisdiction of this Court

 2        pursuant to 28 U.S.C. § 1331 because Plaintiffs bring a cause of action for
 3
          violations of the federal securities laws, and all Plaintiffs’ other causes of
 4

 5        action are directly related to the securities-law cause of action.

 6     3. Venue is proper in this district under 28 U.S.C. § 1391 because Plaintiff Paul
 7
          Panico has resided in Thousand Oaks, California at all times relevant to this
 8
 9        dispute.

10
                                    SUMMARY OF CASE
11

12     4. Wealth Assistants defrauded Plaintiffs and hundreds of other individuals out of

13        millions of dollars. Specifically, Wealth Assistants advertised that it would
14
          provide its clients with substantial income by setting up and managing
15

16        lucrative online Amazon stores that the clients would own. But Wealth
17        Assistants did not provide the promised services. Instead, it used the fees it
18
          collected from Plaintiffs and its other clients for the benefit of its principals.
19

20     5. Wealth Assistants’ clients would pay it an upfront fee of up to $125,000 to set
21        up an online Amazon store in the client’s name and manage it. After that, the
22
          client would pay for the store’s inventory, along with certain other smaller fees.
23

24        In return, the individual would be entitled to collect between 50 percent and 70
25        percent of the online store’s gross profits.
26

27

28
                                               -3-
                                            COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1      Filed 04/09/24    Page 4 of 30 Page ID #:4




 1
       6. Wealth Assistants advertised that the profits of an online store it managed

 2        should grow to more than $10,000 per month by the end of the store’s first
 3
          year.
 4

 5     7. Hundreds of individuals, including Plaintiffs, purchased the business

 6        opportunity Wealth Assistants offered. Most of these purchasers were middle
 7
          class, and many had to use all their retirement savings or take out home equity
 8
 9        loans to make the purchase.

10     8. Wealth Assistants never intended to follow through on its promises.
11
       9. Some of Wealth Assistants’ clients never even received an online store after
12

13        paying the fee. Others received stores (which themselves are valueless and can

14        be easily and freely set up), but their stores were never stocked with any
15
          inventory. Others paid Wealth Assistants for inventory after receiving
16

17        inventory invoices from Wealth Assistants that turned out to be fake; the
18        inventory never actually appeared in their stores.
19
       10.Ultimately, the vast majority of Wealth Assistants’ clients have received less
20

21        than $10,000 in profits from their online stores, and many never received a
22        single dollar of revenue from their stores (if they received stores at all).
23
       11.Wealth Assistants perpetuated its fraudulent enterprise for as long as it could.
24

25        When Plaintiffs and other individuals complained, Wealth Assistants invented
26        excuses. It blamed “supply chain disruption,” for example. It asked its clients
27
          for patience.
28
                                              -4-
                                           COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1      Filed 04/09/24   Page 5 of 30 Page ID #:5




 1
       12.Eventually, however, Plaintiffs and other individuals realized that they had

 2        been defrauded. Many of the Wealth Assistants’ clients demanded their money
 3
          back, complained to their banks, or alerted government agencies about the
 4

 5        ongoing fraud.

 6     13.Realizing that its fraud was being exposed, Wealth Assistants shut down. In
 7
          October of 2023, Wealth Assistants announced to all of its clients that it was
 8
 9        going out of business. The announcement told Plaintiffs that they would not

10        receive further services and would not receive their money back.
11
       14.Throughout this fraudulent scheme, instead of using the money collected from
12

13        Wealth Assistants’ clients to provide the promised services, Wealth Assistants

14        used much of the money it collected from its clients for the benefit of its
15
          principals. For example, Wealth Assistants’ CEO, Ryan Carroll, has recently
16

17        flaunted his new Lamborghini.
18
                                            PLAINTIFFS
19

20     15.Molund Hocine is an individual who has resided in Fremont, California at all
21
          times relevant to this dispute.
22

23     16.Jennifer Lehmkuhl Hill is an individual who has resided in Grass Valley,
24        California at all times relevant to this dispute.
25
       17.Amund Thompson is an individual who has resided in Grass Valley, California
26

27        at all times relevant to this dispute.
28
                                               -5-
                                            COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1       Filed 04/09/24   Page 6 of 30 Page ID #:6




 1
       18.David Hough is an individual who has resided in Temecula, California at all

 2        times relevant to this dispute.
 3
       19. Paul Panico is an individual who has resided in Thousand Oaks California at
 4

 5        all times relevant to this dispute.

 6
                                            DEFENDANTS
 7

 8     20.Defendant Ryan Carroll is an individual who has resided in Florida at all times
 9
          relevant to this dispute.
10

11     21.Defendant, Max K. Day is an individual who has resided in Texas at all times

12        relevant to this dispute.
13
       22.Defendant Max O. Day is an individual who has resided in Texas at all times
14

15        relevant to this dispute.

16     23.Defendant Michael Day is an individual who has resided in Texas at all times
17
          relevant to this dispute.
18

19     24.Defendant Yax Ecommerce LLC, formerly known as Wealth Assistance, LLC
20        is a limited liability company. Its members are Ryan Carroll, Max K. Day, and
21
          Michael Day.
22

23     25.Defendant Precision Trading Group, LLC is a limited liability company. Its
24        members are one more of the following individuals: Ryan Carroll, Max K.
25
          Day, Max O. Day, and Michael Day. Upon information and belief, nobody else
26

27        is a member.
28
                                               -6-
                                            COMPLAINT
Case 2:24-cv-02886-WLH-SK    Document 1      Filed 04/09/24   Page 7 of 30 Page ID #:7




 1
       26.Defendant Providence Oak Properties, LLC is a limited liability company. Its

 2        members are one more of the following individuals: Ryan Carroll, Max K.
 3
          Day, Max O. Day, and Michael Day. Upon information and belief, nobody else
 4

 5        is a member.

 6     27.Defendant WA Distribution, LLC is a limited liability company. Its members
 7
          are one more of the following individuals: Ryan Carroll, Max K. Day, Max O.
 8
 9        Day, and Michael Day. Upon information and belief, nobody else is a member.

10     28.Defendant WWKB, LLC is a limited liability company. Its members are one
11
          more of the following individuals: Ryan Carroll, Max K. Day, Max O. Day,
12

13        and Michael Day. Upon information and belief, nobody else is a member.

14     29.Defendant Dreams to Reality, LLC is a limited liability company. Its members
15
          are one more of the following individuals: Ryan Carroll, Max K. Day, Max O.
16

17        Day, and Michael Day. Upon information and belief, nobody else is a member.
18     30.Defendant WA Amazon Sellers LLC is a limited liability company. Its
19
          members are one more of the following individuals: Ryan Carroll, Max K.
20

21        Day, Max O. Day, and Michael Day. Upon information and belief, nobody else
22        is a member.
23
       31.Defendant Business Financial Solutions Advisory, LLC is a limited liability
24

25        company. Its members are one more of the following individuals: Ryan
26        Carroll, Max K. Day, Max O. Day, and Michael Day. Upon information and
27
          belief, nobody else is a member.
28
                                             -7-
                                          COMPLAINT
Case 2:24-cv-02886-WLH-SK    Document 1     Filed 04/09/24   Page 8 of 30 Page ID #:8




 1
       32.Defendant, EvoMaxx, LLC, is a limited liability company. Its members are one

 2        more of the following individuals: Ryan Carroll, Max K. Day, Max O. Day,
 3
          and Michael Day. Upon information and belief, nobody else is a member.
 4

 5     33.Defendant HouTex Farm Equity Partners LLC is a limited liability company.

 6        Its members are one more of the following individuals: Ryan Carroll, Max K.
 7
          Day, Max O. Day, and Michael Day. Upon information and belief, nobody else
 8
 9        is a member.

10     34.Defendant Max Day Consulting, LLC is a limited liability company. Its
11
          members are one more of the following individuals: Ryan Carroll, Max K.
12

13        Day, Max O. Day, and Michael Day. Upon information and belief, nobody else

14        is a member.
15
       35.Defendant MKD Investment Advisor, LLC is a limited liability company. Its
16

17        members are one more of the following individuals: Ryan Carroll, Max K.
18        Day, Max O. Day, and Michael Day. Upon information and belief, nobody else
19
          is a member.
20

21     36.Defendant MKD Family Beneficiary, LLC is a limited liability company. Its
22        members are one more of the following individuals: Ryan Carroll, Max K.
23
          Day, Max O. Day, and Michael Day. Upon information and belief, nobody else
24

25        is a member.
26     37.Defendant Yax IP and Management a/k/a Pithy Productions, Inc., is a limited
27
          liability company. Its members are one more of the following individuals:
28
                                             -8-
                                          COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1     Filed 04/09/24   Page 9 of 30 Page ID #:9




 1
          Ryan Carroll, Max K. Day, Max O. Day, and Michael Day. Upon information

 2        and belief, nobody else is a member.
 3

 4                                           FACTS

 5
       A. Wealth Assistants Purported To Sell Online Store Management Services
 6

 7     38.The following is a summary of Wealth Assistants’ agreements with its clients,

 8        including Plaintiffs:
 9
             a. Wealth Assistants’ clients would pay it to set up an online store on the
10

11              Amazon platform that the clients would own. These stores offered goods

12              for shoppers to purchase online.
13
             b. Wealth Assistants’ clients would pay for the online store's inventory.
14

15           c. Wealth Assistants’ clients were required to pay certain other fees, such

16              as annual fees and a “success fee” when the store was successfully set
17
                up.
18

19           d. Wealth Assistants would manage the store, including by providing
20              customer service, maintaining relationships with suppliers, and
21
                managing the inventory.
22

23           e. Wealth Assistants’ clients would keep between 50 percent and 70
24              percent of the gross profits generated by the stores, and Wealth
25
                Assistants would take the remaining profits for itself as a management
26

27              fee.
28
                                              -9-
                                           COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1 Filed 04/09/24        Page 10 of 30 Page ID
                                      #:10



 1
      39.Until around November of 2022, most or all of Wealth Assistants’ clients

 2       signed a standardized contract very similar to the one shown in Exhibit A of
 3
         this Complaint.
 4

 5    40.The contract referenced in the paragraph above contained numerous statements

 6       that Wealth Assistants knew were false. For example, the contract stated:
 7

 8             The Client will own a turnkey automated drop shipping Amazon retail
               store, which will be built and operated by the Service Provider. Product
 9             research, supplier negotiations, supplier relationships, product listing,
10             day-to-day price updates, quality control, processing returns, customer
               service, financial reporting, and business growth in the direction of
11             $10,000+ net profit monthly (assuming Client has the necessary
12             resources, cash/credit) are among the services provided.

13    41.The contract also stated “In months 12 – 60+, the goal will be to net the Client
14
         upwards of multiple 6-figures per year ($350-$600K+ per year) if Client
15

16       remains with the Service Provider and this Contract is not terminated for any
17       such reason.”
18
      42.Wealth Assistants knew that nobody planned to provide Wealth Assistants’
19

20       clients with the full set of services Wealth Assistants was promising in that
21       contract. For example, Wealth Assistants knew that it did not have a goal of
22
         generating $10,000 of monthly profit in its clients’ stores. Wealth Assistants
23

24       knew that it instead intended to neglect its clients’ stores so that the stores
25       would generate little or no profits.
26
      43.The contract also contained the following “Buyback” clause:
27

28
                                             - 10 -
                                          COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24       Page 11 of 30 Page ID
                                     #:11



 1
               If Client has substantially complied with all the provisions of this
               Service Agreement, and after the Client’s 1st anniversary of getting their
 2             first Amazon sale, they have not made back their initial $55,000 (fifty-
 3
               five thousand dollars) investment from net profit on their business, the
               Service Provider will offer them a buy-back of their Amazon retail store
 4             or waive their two thousand five hundred dollars ($2,500) annual store
 5             renewal fee if they have not yet paid it or credit them their annual
               renewal fee in full if they have already paid it.
 6

 7    44.Wealth Assistants knew that it never intended to honor its Buyback clause.

 8    45.Around November of 2022, Wealth Assistants began using a different
 9
         standardized contract for its new clients. An example of that standardized
10

11       contract is Exhibit B to this Complaint. This later standard contract stated that

12       “The Service Provider’s principal aims are to provide a ‘done for you’
13
         operation for Client, focusing on high-quality lawfully commercialized
14

15       products offered at competitive prices accompanied by excellent customer
16       service for end-user customers in a manner that promotes growth.”
17
      46.The following “description of services” appeared in those contracts:
18

19          A. Initial Phase. Initially, Service Provider will manage the process of
20             transferring the Store to Client (the “Migration”). Migration includes but
               is not limited to: finalizing the Transfer (described at Exhibit D),
21             changing account names, email address, bank account information,
22             payment information, and other steps required by the Host. Migration
               generally takes 1 to 2 weeks but may be substantially delayed if issues
23             arise. Migration completes upon delivery of new account credentials and
24             the training manual.
25
            B. Ramp-Up. During the remainder of the first year, Service Provider will
26             steadily encourage and support ramping up the scale of the Store by, for
27             example, increasing product listings, optimizing SEO, and exploring
               advertising opportunities. Increased inventory will be required to meet
28
                                            - 11 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1 Filed 04/09/24     Page 12 of 30 Page ID
                                      #:12



 1
                increased demand as described below. The focus of this period is to lay
                the groundwork for future success.
 2

 3

 4                       MONTHS                    COST OF INVENTORY PER
                                                           MONTH
 5
                              1                             $15,000
 6
                             2-3                            $30,000
 7
                             4-6                            $50,000
 8
 9
                            7 - 12                          $70,000

10                        13 – 18 *                         $90,000

11      * The end of this period is the
        “Milestone.”
12

13
      47.Wealth Assistants knew that it would not be able to “ramp up” stores at the rate
14
         it promised in its contracts.
15

16    48.Likewise, the following description of Wealth Assistants’ “Management”
17
         services appeared in the same contract:
18

19               B. Management. Service Provider will serve as a business consultant
                 for the Store; performing for example:
20
                 ● Product research and analysis of market data to identify top-selling
21               products,
                 ● Supplier relationships,
22
                 ● Strategic sourcing or bulk-ordering products from optimal suppliers,
23               ● Planning warehousing and fulfillment options,
                 ● Product listings including, pricing decisions, and pricing updates,
24
                 ● Deployment of Store look and feel (including Store name which may
25               change from time to time),
                 ● Customer service including quality control, and processing returns,
26
                 and
27               ● Internal financial reporting.
28
                                             - 12 -
                                          COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1 Filed 04/09/24      Page 13 of 30 Page ID
                                      #:13



 1
                 Service Provider shall make commercially reasonable efforts to
                 maintain the uniqueness of the Store. In the event Client discovers
 2               certain inventory overlap with other stores, Client agrees to notify
 3               Service Provider.

 4    49.Wealth Assistants knew that it would not provide the “Management” services
 5
         described in that portion of the contract.
 6

 7    50.The same contract also promised a purported “Buyback Warranty,” which

 8       stated, in part, as follows:
 9

10              In the event Profit does not exceed the Threshold by the Milestone,
                Client may elect to receive from Service Provider: (1) a Credit, or (2) the
11              Buyback Amount.
12              “Profit” means Gross Income less the Success Fee received by the
                Milestone.
13              “Threshold” means the Set-Up Fee.
14              “Credit” means an amount equivalent to the Annual Fee, and
                redeemable, at Client’s option, by refund if already paid, or by
15              application to Client’s account.
16              "Buyback Amount” means an amount equivalent to the Threshold less
                the Profit.
17

18    51.Wealth Assistants knew that it never intended to honor the terms of its
19       Buyback Warranty, and Wealth Assistants in fact did not honor the terms of its
20
         Buyback Warranties with Plaintiffs.
21

22    B. Wealth Assistants’ Marketing
23    52.Wealth Assistants sent most or all of its prospective clients projections
24
         showing that the stores Wealth Assistants managed would generate more than
25

26       $10,000 per month. An example of such a slide is shown below:
27

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                                            - 13 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24      Page 14 of 30 Page ID
                                     #:14



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11

12
      53.Very few, if any, of Wealth Assistants’ investors ever achieved the “monthly
13

14
         profit totals” advertised by Wealth Assistants.

15    54.Wealth Assistants knew that its clients could not reasonably expect to achieve
16
         more than $10,000 per month in profits.
17

18
      55.The slide deck also included the following slide:

19

20

21

22

23

24

25

26

27

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                                            - 14 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24        Page 15 of 30 Page ID
                                     #:15



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 2

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11

12
      56.Wealth Assistants knew that it did not intend to honor the “Buy Back”
13

14       guarantee advertised in the slide above.

15    57.Wealth Assistants also lured clients with false advertising on social media. For
16
         example, on March 28, 2023, Wealth Assistants posted on its Facebook
17

18       account that “you’ll have the opportunity to sell your business 2-3 years from

19       opening up your Amazon store (once your sales are $100K+/monthly).”
20
      C. Plaintiffs’ Experiences With Wealth Assistants
21

22    58.In or around November of 2022, a representative of Wealth Assistants named

23       Jennifer Schertferger told Plaintiff Jennifer Lehmkuhl Hill that Wealth
24
         Assistants projected that if it managed an online store for Hill, the online store
25

26       would generate thousands of dollars of income each month.
27

28
                                            - 15 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24       Page 16 of 30 Page ID
                                     #:16



 1
      59.After receiving that representation from Schertferger, and relying on it, Hill

 2       signed a contract to purchase the business opportunity Wealth Assistants was
 3
         offering in or around November of 2022.
 4

 5    60.Hill later wired more than $7,000 to Wealth Assistants for inventory payments.

 6    61.Hill never received any money in connection with the business opportunity she
 7
         purchased from Wealth Assistants.
 8
 9    62.In June of 2023, a representative of Wealth Assistants named Peter McLean

10       told Plaintiff Mouloud Hocine that Wealth Assistants projected that if it
11
         managed an online store for Hocine, the online store would generate more than
12

13       $10,000 of income per month by the end of the store’s first year.

14    63.In July of 2023, Hocine signed a contract to purchase the business opportunity
15
         Wealth Assistants was offering.
16

17    64.In or around October of 2023, Wealth Assistants asked Hocine to wire another
18       $5,000 to Wealth Assistants to pay for the store’s inventory. He wired that
19
         money on October 3, 2023. The inventory was never uploaded into Hocine’s
20

21       store.
22    65.Hocine never received any revenue in connection with his store.
23
      66.In July of 2022, a representative from Wealth Assistants named Charles
24

25       Fitzgerald Butler emailed Plaintiff Amund Thompson and attached a
26       PowerPoint that projected stores managed by Wealth Assistants would
27

28
                                            - 16 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24      Page 17 of 30 Page ID
                                     #:17



 1
         generate more than $10,000 per month in profits by the end of the store’s first

 2       year.
 3
      67.In November of 2022, Thompson signed a contract to purchase the business
 4

 5       opportunity Wealth Assistants was offering.

 6    68.In or around November of 2022, Thompson paid Wealth Assistants $50,000 to
 7
         cover the onboarding fee.
 8
 9    69.In early 2023, Thompson paid $5,000 to Wealth Assistants for inventory.

10       Thompson paid Wealth Assistants that money by wiring the money to an
11
         escrow agent called Marker Law.
12

13    70.In total, to date, Thompson has received no more than $5,000 in connection

14       with the business opportunity that Thompson purchased from Wealth
15
         Assistants.
16

17    71.In August of 2022, a representative of Wealth Assistants named Mack
18       McKaughan told Plaintiff David Hough that if Wealth Assistants managed a
19
         store for Hough, Wealth Assistants projected that the store would generate
20

21       $10,000 of income per month by the end of the store’s first year.
22    72.Hough signed a contract to purchase the business opportunity Wealth
23
         Assistants was offering in August of 2022, and around the same time Hough
24

25       paid Wealth Assistants $55,000 for the onboarding fee.
26    73.Hough later wired approximately $10,000 to Wealth Assistants for inventory.
27

28
                                           - 17 -
                                        COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24       Page 18 of 30 Page ID
                                     #:18



 1
      74.Hough has received less than $4,000 in connection with the business

 2       opportunity he purchased from Wealth Assistants.
 3
      75.In or around November of 2022, Defendant Max K. Day told Plaintiff Paul
 4

 5       Panico over Zoom that Wealth Assistants projected that if it managed an online

 6       store, the online store would likely generate thousands of dollars of passive
 7
         income each month.
 8
 9    76.In or around November of 2022, after his conversation with Max K. Day,

10       Panico signed a contract to purchase the business opportunity Wealth
11
         Assistants was offering.
12

13    77.Panico later paid Wealth Assistants $5,000 for inventory.

14    78.Wealth Assistants uploaded inventory into Panico’s store and sold all of it, but
15
         Panico the sales of the inventory generated less than $2,500 in revenue.
16

17    D. Wealth Assistants Fraudulently Transferred Many Of Its Assets To Ryan
         Carroll And Max K. Day, And Wealth Assistants Announced It Was
18       Shutting Down
19
      79.On October 23, 2023, Wealth Assistants wrote to its clients that it “will not be
20

21       able to honor any more Buyback Guarantees” and would “cease all operations
22       before December 1, 2023.”
23
      80.Wealth Assistants did in fact shut down. For example, it fired all or nearly all
24

25       of its employees and stopped corresponding with its clients.
26    81.Wealth Assistants has not honored Plaintiffs’ Buyback agreements.
27

28
                                            - 18 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1 Filed 04/09/24     Page 19 of 30 Page ID
                                      #:19



 1
      82.Many of Wealth Assistants’ clients have complained, requested refunds, or

 2       requested that Wealth Assistants honor its Buyback agreements, but have not
 3
         received a response from Wealth Assistants.
 4

 5    83.Wealth Assistants transferred its funds to Defendants Ryan Carroll, Max K.

 6       Day, Max O. Day, and Michael Day for them to personally use.
 7
      84.Wealth Assistants also took steps to conceal the fraudulent transfers of funds to
 8
 9       its principals Ryan Carroll, Max K. Day, Max O. Day, and Michael Day. For

10       example, Wealth Assistants used “payment processors” to receive payments
11
         from Wealth Assistants’ clients and transfer the funds to hidden bank accounts
12

13       not disclosed to its clients.

14    E. When Wealth Assistants Shut Down, It Transitioned Many Of Its Clients’
15       Accounts And Assets To Wholesale Universe, Which Operates A Scheme
         Similar To Wealth Assistants’ Scheme
16

17    85.As discussed above, on October 23, 2023, Defendant Ryan Carroll—the CEO
18       of Wealth Assistants—emailed Wealth Assistants’ clients, including Plaintiffs,
19
         stating Wealth Assistants “will not be able to honor any more Buyback
20

21       Guarantees” and would “cease all operations before December 1, 2023.” The
22       same email also stated that Wealth Assistants was offering its clients a
23
         “Transition Agreement.” Specifically, Wealth Assistants offered its clients the
24

25       opportunity to transition their stores to management by another e-commerce
26       firm on “favorable terms.” The email also attached a “comparison of vendor
27
         proposals,” which purportedly compared three e-commerce firms that had
28
                                            - 19 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24       Page 20 of 30 Page ID
                                     #:20



 1
         offered “favorable terms” to manage Wealth Assistants’ clients’ stores. But the

 2       only e-commerce firms actually identified in the “vendor proposals” were
 3
         “Quantum Ecom” and “Wholesale Universe,” which jointly offered a proposal.
 4

 5       The other “vendors” offering the proposal were anonymous.

 6    86.Thereafter, many former clients of Wealth Assistants began receiving
 7
         unsolicited emails from Wholesale Universe. Some of those emails stated that
 8
 9       “prior to going out of business, Wealth Assistants purchased an inventory

10       package for you valued at $35,000. It is now ready for upload to your Amazon
11
         FBA account.” The statement was false because Wealth Assistants had not in
12

13       fact purchased $35,000 inventory packages before it shut down.

14    87.However, Wealth Assistants did in fact transfer assets from itself to Wholesale
15
         Universe. Wealth Assistants and Wholesale Universe made that transfer for the
16

17       purpose of preventing Wealth Assistants’ current and future creditors,
18       including Plaintiffs, from accessing Wealth Assistants’ assets.
19
      88.On December 19, 2023, Wholesale Universe sent an email to many of Wealth
20

21       Assistants’ clients. Although most or all the recipients of the email had not
22       partnered with Wholesale Universe, the email began by stating “We appreciate
23
         your partnership with Wholesale Universe and value the opportunity to assist
24

25       in providing you your Amazon inventory efficiently, as was ordered by Wealth
26       Assistants over the last 100 plus days.” The email later stated “to ensure a
27
         smooth transition, we kindly request your prompt attention to the following
28
                                            - 20 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24        Page 21 of 30 Page ID
                                     #:21



 1
         matters: Please provide Wholesale Universe User Access Permission . . .” The

 2       email later stated “failure to provide the required information within the next
 3
         30 days will result in the initiation of a monthly storage fee of $500,
 4

 5       commencing from December 20, 2023. This fee will be deducted from your

 6       inventory amount currently on hand at WU.”
 7
      F. Defendants All Conspired To Carry Out The Fraud Described Above
 8
 9    89.Defendant Ryan Carroll is the Chief Executive Officer of Wealth Assistants.

10       He participated in the conspiracy described above in the following ways:
11
            a. Ryan Carroll claims that he founded Wealth Assistants and led the
12

13             company’s growth.

14          b. Ryan Carroll used videos of himself to recruit new clients for Wealth
15
               Assistants. Those videos included intentionally false statements. For
16

17             example, he stated in those recorded videos that Wealth Assistants’
18             stores could be expected to generate more than $10,000 in profits per
19
               month.
20

21          c. Ryan Carroll fraudulently transferred money from Wealth Assistants to
22             himself and used that money for personal gain. For example, Carroll
23
               stated on social media that he had purchased a Lamborghini.
24

25          d. Ryan Carroll is the founder and owner of Defendant Yax Ecommerce
26             LLC, which does business as “Wealth Assistants LLC.” Carroll is also
27
               the owner of WA Amazon Seller LLC and the manager of the North
28
                                            - 21 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK    Document 1 Filed 04/09/24       Page 22 of 30 Page ID
                                    #:22



 1
               Carolina branch of Defendant WA Distribution LLC, both of which

 2             collected payments from Wealth Assistants’ victims on behalf of Wealth
 3
               Assistants. Carroll also created the company Daddy Jules LLC which,
 4

 5             upon information and belief, serves the purpose of either concealing

 6             Wealth Assistants’ assets or concealing Ryan Carroll’s personal assets.
 7
               Carroll is also the owner of Dreams to Reality LLC, which is an owner
 8
 9             of Defendant Yax Ecommerce LLC.

10    90.Max K. Day is an owner of Wealth Assistants. He participated in the
11
         conspiracy described above in the following ways:
12

13          a. Max K. Day formed and managed Defendant Precision Trading

14             Group, LLC. According to Precision Trading Group’s corporate
15
               registration, it operated under the “assumed names” of “Wealth
16

17             Assistants LLC,” “WA Distribution, LLC,” “WA Brand Management,
18             LLC,” and “WA Amazon Seller, LLC” beginning on December 14,
19
               2022. Precision Trading accepted payments on behalf of Wealth
20

21             Assistants from many Wealth Assistants clients.
22          b. Max K. Day is the Director of Defendant Providence Oak Properties,
23
               LLC. Providence Oak Properties, LLC accepted payments on behalf of
24

25             Wealth Assistants from many of Wealth Assistants’ clients. A
26             representative of Wealth Assistants stated, “Providence Oak Properties is
27
               a part of Wealth Assistants.”
28
                                           - 22 -
                                        COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24      Page 23 of 30 Page ID
                                     #:23



 1
            c. Ryan Carroll described Max K. Day as his “mentor” and “business

 2             partner” in starting and managing Wealth Assistants.
 3
            d. Max K. Day represented to one or more of Wealth Assistants’ clients
 4

 5             that they would receive a refund on their store. When he made that

 6             representation to Wealth Assistants’ client Dominic Camany in
 7
               September of 2023, Max K. Day knew that it was not true, and in fact
 8
 9             Camany never received a refund.

10          e. Max K. Day aided and abetted the fraudulent scheme at issue by drawing
11
               on his past experiences in fraudulently transferring assets. For example,
12

13             in 1992, Max K. Day agreed to injunctive relief after being charged by

14             the Federal Trade Commission with operating a fraudulent credit card
15
               scheme. Likewise, in 2006, Max K. Day and his family ran a fraudulent
16

17             enterprise called “Today’s Destiny.” Today’s Destiny—much like the
18             fraudulent scheme at issue in this case—lured victims by promising to
19
               make them rich if they paid for the business opportunity Today’s
20

21             Destiny was offering. Today’s Destiny took money from its victims and
22             did not provide the promised services. The Days then transferred the
23
               money collected by Today’s Destiny to themselves, and they had
24

25             Today’s Destiny declare bankruptcy. The United States Trustee for
26             Today’s Destiny brought an adversary complaint against the Days for
27
               their fraudulent transfers.
28
                                            - 23 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK    Document 1 Filed 04/09/24       Page 24 of 30 Page ID
                                    #:24



 1
            f. Max K. Day also created each of the following entities, which are

 2             defendants in this case: MKD Investment Advisor, LLC; MKD
 3
               Family Beneficiary, LLC; MKD Family Private Management
 4

 5             Company, LLC; Max Day Consulting, LLC; HouTex Farm Equity

 6             Partners LLC; Business Financial Solutions Advisory LLC; and
 7
               Yax IP and Management Inc. Either Max K. Day or Max O. Day
 8
 9             created the entity Defendant Evo Maxx LLC. Upon information and

10             belief, Max K. Day created those entities for the sole purpose of
11
               concealing his assets, including concealing proceeds of the fraudulent
12

13             scheme described above.

14    91.Defendant Max O. Day was the Chief Growth Officer at Wealth Assistants.
15
         He participated in the conspiracy described above in the following ways:
16

17          a. Wealth Assistants’ “payment processors” accepted payments on behalf
18             of Wealth Assistants’ clients and then paid that money to other bank
19
               accounts associated with Wealth Assistants or its principals. Upon
20

21             information and belief, Wealth Assistants used “payment processors” to
22             make it more difficult for its victims to track where their money had
23
               gone once the victims realized they had been defrauded. Max O. Day
24

25             asked an individual named Zach Henson to serve as a “payment
26             processor” for Wealth Assistants.
27

28
                                            - 24 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1 Filed 04/09/24    Page 25 of 30 Page ID
                                      #:25



 1
            b. Max O. Day often stated that online stores managed by Wealth

 2             Assistants would likely earn tens of thousands of dollars per month.
 3
               Many of Wealth Assistants’ clients relied on Max O. Day’s statements
 4

 5             when deciding to purchase the business opportunity Wealth Assistants

 6             was selling. For example, in or around August of 2023, Max O. Day
 7
               helped convince an individual named Craig Dillehay to purchase the
 8
 9             business opportunity Wealth Assistants was offering, in part by telling

10             Dillehay that stores Wealth Assistants was managing were very
11
               profitable. Max O. Day also helped convince an individual named Korey
12

13             McAleejergins to purchase the business opportunity Wealth Assistants

14             was offering.
15
            c. Like his uncle Max K. Day, Max O. Day brought to Wealth Assistants
16

17             his experience with similar fraudulent schemes and fraudulent transfers.
18             He, like his uncle, helped perpetrate the “Today’s Destiny” fraud
19
               described above.
20

21    92.Defendant Michael Day was another owner of Wealth Assistants and
22       provided financing for the company knowing that it was a fraudulent scheme.
23
         He also made false statements to many of Wealth Assistants’ clients that they
24

25       relied upon when deciding to purchase the business opportunities Wealth
26       Assistants offered. For example, on October 12, 2022, Michael Day told
27
         Wealth Assistants’ former client Haider Istanbouli, “we have developed a 72
28
                                           - 25 -
                                        COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24       Page 26 of 30 Page ID
                                     #:26



 1
         point SOP protocol that virtually eliminates any possibility for deactivations or

 2       suspensions,” when in fact Michael Day knew that Amazon stores that Wealth
 3
         Assistants set up were frequently deactivated or suspended for not complying
 4

 5       with Amazon’s policies. Moreover, Michael Day co-owns WWKB LLC,

 6       which is an owner of Yax Ecommerce LLC. Michael Day was also one of the
 7
         perpetrators of the Today’s Destiny fraud described above.
 8
                                   CAUSES OF ACTION
 9

10   FIRST CAUSE OF ACTION, FOR CIVIL CONSPIRACY TO DEFRAUD, BY
               ALL PLAINTIFFS AGAINST ALL DEFENDANTS
11

12    93.Plaintiffs incorporate by reference all allegations above.

13    94.The elements of fraud are a misrepresentation, knowledge of its falsity, intent
14
         to defraud, justifiable reliance, and resulting damage.
15

16    95.To establish the element of conspiracy, a plaintiff must show (1) formation and
17       operation of the conspiracy; (2) wrongful act or acts done pursuant thereto; and
18
         (3) resulting damage.
19

20    96.All Defendants conspired, and agreed among each other, to make
21       misrepresentations to Plaintiffs to entice them to purchase the services of
22
         Wealth Assistants.
23

24    97.Defendants overtly acted in furtherance of that conspiracy.
25    98.Defendants knew of the falsity of the misrepresentations to Plaintiffs.
26
      99.Plaintiffs relied on those misrepresentations when purchasing services or goods
27

28       from Wealth Assistants.
                                            - 26 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK     Document 1 Filed 04/09/24       Page 27 of 30 Page ID
                                     #:27



 1
      100.     Plaintiffs suffered damages as a result of the acts performed pursuant to

 2       the conspiracy.
 3

 4   SECOND CAUSE OF ACTION, FOR CONSPIRACY TO FRAUDULENTLY
     TRANSFER ASSETS IN VIOLATION OF CALIFORNIA CIV. CODE § 3439,
 5          BY ALL PLAINTIFFS AGAINST ALL DEFENDANTS
 6
      101.     Plaintiffs incorporate by reference all allegations above.
 7

 8    102.     To succeed in a fraudulent transfer claim, a plaintiff must show: (1) he

 9       or she had a right to payment from the defendant for damages, (2) defendant
10
         transferred property, (3) defendant transferred property with the intent to
11

12       hinder, delay or defraud plaintiff, (4) plaintiff was harmed, and (5) defendant's

13       conduct was a substantial factor in causing plaintiff harm.
14
      103.     To establish the element of conspiracy, a plaintiff must show (1)
15

16       formation and operation of the conspiracy; (2) wrongful act or acts done
17       pursuant thereto; and (3) resulting damage.
18
      104.     Here, Defendants agreed to transfer funds from Wealth Assistants to
19

20       Ryan Carroll, Max K. Day, Max O. Day, and Michael Day for them to
21       personally use, and Wealth Assistants did not receive a reasonably equivalent
22
         value in exchange for the transfer.
23

24    105.     Furthermore, Defendants agreed to transfer assets from Wealth
25       Assistants to Wholesale Universe without providing Wealth Assistants
26
         anything of comparable value in exchange. Defendants made that transfer in
27

28
                                            - 27 -
                                         COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1 Filed 04/09/24      Page 28 of 30 Page ID
                                      #:28



 1
         order to prevent Wealth Assistants’ current and future creditors, including

 2       Plaintiffs, from collecting those assets.
 3
      106.     When making those agreements, Defendants believed or reasonably
 4

 5       should have believed that they would incur debts beyond their ability to pay as

 6       they became due;
 7
      107.     Defendants intended to deprive Plaintiffs of the opportunity to recover
 8
 9       damages via fraud claims against Wealth Assistants;

10    108.     Defendants did in fact transfer funds from Wealth Assistants to Ryan
11
         Carroll, Max K. Day, Max O. Day, Michael Day, Wholesale Universe, and
12

13       various shell companies, some of which are defendants in this case and

14       discussed above. The transfers harmed Plaintiffs, in part because the transfers
15
         caused Wealth Assistants to be undercapitalized and ultimately to go out of
16

17       business, rendering it unable to pay any judgment that may be entered against
18       it.
19

20
          THIRD CAUSE OF ACTION, FOR CONSPIRACY TO VIOLATE
         BUSINESS AND PROFESSIONS CODE § 17200 and §17500, BY ALL
21
                  PLAINTIFFS AGAINST ALL DEFENDANTS
      109.     Plaintiffs incorporate by reference all allegations above.
22

23    110.     The Unfair Competition Law defines unfair competition to include any
24
         “unlawful,” or “fraudulent” business act or practice. See California Business
25

26
         and Professions Code § 17200 and §17500. The Act also provides for

27       injunctive relief and restitution for violations.
28
                                             - 28 -
                                          COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1 Filed 04/09/24         Page 29 of 30 Page ID
                                      #:29



 1
      111.      All Defendants violated California Business and Professions Code §

 2       17200 and §17500 by misrepresenting the business opportunities offered to
 3
         Plaintiffs by Wealth Assistants. For example, those defendants misrepresented
 4

 5       the profitability of those business opportunities.

 6    112.      The same defendants’ acts and practices as described herein have
 7
         deceived members of the public, including Plaintiffs.
 8
 9    113.      As a result, Plaintiffs and others who purchased the business

10       opportunities offered by Wealth Assistants suffered damages.
11
          FOURTH CAUSE OF ACTION, FOR VIOLATIONS OF SECURITIES
12           LAWS PURSUANT TO 15 U.S.C. § 77l, BY ALL PLAINTIFFS
13                      AGAINST ALL DEFENDANTS

14    114.      Plaintiffs incorporate by reference all allegations above.
15
      115.      15 U.S.C. § 77l creates a private cause of action for a plaintiff when a
16

17       defendant sells the plaintiff unregistered securities, or sells the plaintiff
18       securities by means of an untrue statement of material fact.
19
      116.      The business opportunities Wealth Assistants sold to Plaintiffs
20

21       constituted unregistered securities sold without registration and by means of
22       untrue statements of material facts.
23

24
                            PRAYER FOR RELIEF
         WHEREFORE, Plaintiffs respectfully request that the Court:
25

26
         A. Award compensatory, consequential, exemplary, and punitive damages to

27           Plaintiffs in the amount of $1,000,000;
28
                                              - 29 -
                                           COMPLAINT
Case 2:24-cv-02886-WLH-SK      Document 1 Filed 04/09/24        Page 30 of 30 Page ID
                                      #:30



 1
          B. Award attorneys’ fees and costs to Plaintiffs in an amount to be determined

 2           at trial;
 3
          C. Enjoin all Defendants from violating business and professions code § 17200
 4

 5           and 17500;

 6        D. Enjoin Defendants from fraudulently transferring assets;
 7
          E. Grant to Plaintiffs whatever other relief is just and proper.
 8
 9                                  Jury Trial Demanded
10
     DATED: April 9, 2024
11
                                                         /s/Nico Banks
12                                                       Nico Banks, Esq.
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                                             - 30 -
                                          COMPLAINT
